Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 1 of 9




                   EXHIBIT A
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 2 of 9
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 3 of 9
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 4 of 9
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 5 of 9
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 6 of 9
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 7 of 9
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 8 of 9
Case 1:17-cv-02003-GBD-SN Document 160-1 Filed 09/20/19 Page 9 of 9
